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                                 EXHIBIT 1
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           10.     I certify that I will abide by the required procedural safeguards to minimize any

   risk of inadvertent disclosure of any documents received in connection with this litigation if I am

   permitted access to confidential Exelixis information. I certify that if have executed the

   Confidentiality Undertaking attached to the Protective Order to abide by its terms and submit for

   enforcement purposes to the jurisdiction of the Court. I certify that if permitted access, I will

   abide by the “use bar” that prohibits improperly using the information for purposes like

   “research, development, manufacture, patent prosecution, financial, commercial, marketing,

   regulatory, business, or other competitive purpose,” as well as all other terms, obligations and

   restrictions set forth in the Protective Order.

           I declare, under penalty of perjury, that the foregoing is true and correct to the best of my

   information, knowledge, and belief. Executed on July 9, 2021, at Piscataway, New Jersey.



                                               Kondal Reddy Digitally signed by Kondal
                                                             Reddy Bairy
                                                  Bairy
                                                ___________________________
                                                             Date: 2021-07-09 10:33:01


                                                     Kondal Reddy Bairy, Ph.D.


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